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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DR. VALENTIN GAPONTSEV and IPG
 PHOTONICS CORP.,


                    Plaintiffs,

        v.                                           Civil Docket No. 1:18-cv-02826-RC-GMH

 U.S. DEPARTMENT OF THE TREASURY
 and STEVEN MNUCHIN, in his official
 capacity as Secretary of the Treasury,

                    Defendants.


                                   JOINT STATUS REPORT

       Pursuant to this Court’s July 1, 2019 Order, the parties submit this joint status report.

The parties have actively worked with one another to draft the appropriate documentation that

reflects their agreement in principle, including through numerous conferences and exchanges of

drafts. The parties are down to the smallest of details, and expect to make filings finalizing the

agreement by August 14, 2019. The parties will inform the Court if this timeline changes.




Dated: July 31, 2019                              Respectfully submitted,

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